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                         UNITED STATES BANKRUPTCY COURT

                                   DISTRICT OF IDAHO


    IN RE:

    Scott Anthony Maher.                         Case No. 22-00577-NGH

           Debtors.


    David Fitzpatrick, and Patricia
    Paulin (fka Fitzpatrick),

           Plaintiffs,
                                                 Adv. No. 23-06012-NGH
    vs.

    Scott Anthony Maher

           Defendant.


                                      PRETRIAL ORDER


          On the 15th day of June 2023, a telephonic pretrial conference was held, at which

   the following parties participated:

   Plaintiff(s): Ronald R. Shepherd

   Defendant(s): Scott A. Maher

          Based upon the results of that pretrial conference, the Court for good cause hereby

   ORDERS as follows:

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       1.   The pleadings are settled. This is a core proceeding over which this Court

            exercises jurisdiction, 28 U.S.C. §157, 1334, and enters final orders and

            judgments subject to appeal under 28 U.S.C. §158. Pursuant to Bankruptcy

            Rules 7008 and 7012 as amended Dec. 1, 2016, the parties expressly

            consent to this Court entering final orders and/or judgment.

       2.   Any and all discovery shall be completed no later than, December 15, 2023.

       3.   With the exception of motions in limine, any and all pretrial motions,

            including any motions for continuances and any motions to permit a

            witness to testify at trial by contemporaneous transmission from a location

            other than the courtroom, must be filed and a hearing held before the Court

            in accordance with Federal and Local Bankruptcy Rules (including but not

            limited to LBR 7056.1) no later than December 18, 2023.

       4.   The deadlines set forth herein may not be extended by agreement of the

            parties except upon the filing of a written stipulation approved by order of

            the Court prior to the expiration of the original deadline.

       5.   Except to the extent modified by the terms of this Order, the parties shall

            comply with the Court’s Order Regarding Exhibits and Witness List

            attached hereto.

       6.   Pretrial briefs shall be filed no later than January 30, 2024.




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        7.   Trial of this matter is set for February 13-15, 2024, at 9:00 a.m. at the U.S.

             Bankruptcy Court, James A. McClure Federal Building and U.S.

             Courthouse, 550 West Fort Street, Boise, Idaho.

   DATED: June 15, 2023


                                         _________________________
                                         NOAH G. HILLEN
                                         U.S. Bankruptcy Judge




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                   ORDER REGARDING EXHIBITS AND WITNESS LISTS

          The following provisions govern all documentary exhibits to be used in the trial of

   the adversary proceeding, and identification of all witnesses that may be called, except

   exhibits used solely for purposes of impeachment or rebuttal, and witnesses called solely

   for rebuttal.

          (a) Marking, exchanging, and providing exhibits

                   (1) Each party shall identify a proposed documentary exhibit by marking

   it, if practicable, in the lower righthand corner of its first page. Unless there are more

   than two parties, the plaintiff shall identify exhibits by consecutive number starting with

   100 (100, 101, 102, 103, etc.), and the defendant shall identify exhibits by consecutive

   number starting with 200 (200, 201, 202, 203, etc.).

                         (A) If there are more than two parties, or if parties anticipate a

   number of exhibits greater than this protocol will accommodate, the parties shall address

   that matter with the courtroom deputy and comply with such orders as the Court may

   enter as to exhibit identification and numbering. Ordinarily subsequent number ranges

   (300, 301, 302, 303, etc.; 400, 401, 402, 403, etc.) will be assigned to the additional

   parties.

                   (2) Any party intending to offer an exhibit in evidence shall provide pre-

   marked copies thereof to opposing parties, and provide a Witness original exhibit binder,

   one Bench copy exhibit binder to the courtroom deputy, no later than January 30, 2024,

   unless otherwise ordered by the Court. Failure to do so may be grounds for not admitting

   an exhibit in evidence.
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                 (3) Where a party intends to offer exhibits, that party shall place its pre-

   marked exhibits in tabbed binders prior to exchanging exhibits with other parties and

   providing them to the courtroom deputy.

          (b) Identification and disclosure of witnesses

                 (1) Each party shall disclose the names and addresses of all witnesses

   proposed to be called at trial, except for rebuttal witnesses. Such witness lists shall be

   provided to opposing parties and the courtroom deputy no later than January 30, 2024,

   unless otherwise ordered by the Court. Failure to do so may be grounds for not allowing

   the testimony of a witness.

                 (2) Parties designating a witness shall have the responsibility, subject to

   the Bankruptcy Rules, of assuring the presence of the witness at trial.

          (c) Discretion of the Court.

          Notwithstanding the foregoing, the Court may enter such orders concerning

   exhibits or witness lists as may be necessary or appropriate, including modification or

   waiver of the requirements of this Order.



   BY ORDER OF THE COURT
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                                                              United States Bankruptcy Court
                                                                     District of Idaho
Fitzpatrick,
       Plaintiff                                                                                                       Adv. Proc. No. 23-06012-NGH
Maher,
       Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0976-1                                                  User: admin                                                                 Page 1 of 1
Date Rcvd: Jun 15, 2023                                               Form ID: pdf018                                                            Total Noticed: 2
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 17, 2023:
Recip ID                 Recipient Name and Address
dft                    + Scott Anthony Maher, 10320 Whispering Cliffs Dr, Boise, ID 83704-1909

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
ust                    + Email/Text: ustp.region18.bs.ecf@usdoj.gov
                                                                                        Jun 15 2023 23:39:00      US Trustee, 550 West Fort St, Ste 698, Boise, ID
                                                                                                                  83724-0101

TOTAL: 1


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 17, 2023                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 15, 2023 at the address(es) listed below:
Name                               Email Address
Ronald Robert Shepherd
                                   on behalf of Plaintiff David Fitzpatrick ron@rshepherdlaw.com brenda@rshepherdlaw.com

Ronald Robert Shepherd
                                   on behalf of Plaintiff Patricia Paulin (fka Fitzpatrick) ron@rshepherdlaw.com brenda@rshepherdlaw.com


TOTAL: 2
